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  11                             UNITED STATES DISTRICT COURT
  12                           CENTRAL DISTRICT OF CALIFORNIA
  13
        PARAMOUNT PICTURES                           Case No. 2:21-cv-06975-RGK (MAA)
  14    CORPORATION, a Delaware                      The Honorable R. Gary Klausner
  15    corporation,
                                                     JOINT STIPULATION TO
  16                            Plaintiff,           REQUEST CONTINUANCE OF
  17                                                 TRIAL AND RELATED PRETRIAL
                    vs.                              DEADLINES
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  19    FEDERAL INSURANCE COMPANY,                   Complaint Filed: August 30, 2021
        an Indiana corporation,                      FAC Filed:       January 19, 2022
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  21                            Defendant.           Trial Date: September 13, 2022
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                           JOINT STIPULATION TO REQUEST CONTINUANCE OF TRIAL
                                     AND RELATED PRETRIAL DEADLINES
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   1              Plaintiff Paramount Pictures Corporation (“Paramount”) and Defendant
   2   Federal Insurance Company (“Federal”) (together, the “Parties”), by and through
   3   their undersigned counsel, stipulate and agree as stated herein, respectfully and
   4   jointly request that, for good cause as shown below and in the accompanying
   5   declarations of the Parties’ counsel, the Court extend the September 13, 2022, trial
   6   date and the related pretrial deadlines:
   7              WHEREAS, Paramount filed its initial complaint containing two claims (for
   8   breach of contract and breach of the implied covenant of good faith and fair dealing)
   9   with this Court on August 30, 2021, and served Federal with the complaint         on
  10   September 2, 2021;
  11              WHEREAS, Federal timely filed its Answer to the initial complaint on
  12   November 5, 2021, pursuant to the Parties’ stipulation and this Court’s order
  13   approving that stipulation;
  14              WHEREAS, the Parties stipulated on January 14, 2022, that Paramount should
  15   be granted leave to file its First Amended and Supplemental Complaint based on
  16   occurrences and events that happened after the date of the initial complaint;
  17              WHEREAS, the Court granted the Parties’ stipulated request and Paramount
  18   filed its First Amended and Supplemental Complaint (“FAC”) on January 19, 2022;
  19              WHEREAS, Paramount’s FAC added five claims (for breach of contract,
  20   fraudulent promise, fraud in the inducement, negligent misrepresentation, and
  21   declaratory relief) to the two claims previously set forth in Paramount’s initial
  22   complaint;
  23              WHEREAS, the Court held a Scheduling Conference on January 24, 2022, and
  24   ordered the following deadlines: Jury Trial starting September 13, 2022; Pretrial
  25   Conference on August 29, 2022; Motion Cut-Off Date of June 29, 2022; and
  26   Discovery Cut-Off Date for fact discovery of June 15, 2022;
  27              WHEREAS, Federal timely filed its Answer to the FAC on February 2, 2022;
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   1              WHEREAS, on February 23, 2022, Paramount served written discovery
   2   (including requests for production and interrogatories) on Federal, and on April 15,
   3   2022, Federal served its objections and responses to that discovery. Also on February
   4   23, 2022, Paramount served notices of deposition of Federal’s persons most qualified
   5   regarding the claims the underwriting. These depositions were continued at Federal’s
   6   request;
   7              WHEREAS, on March 25, 2022, the Parties submitted a stipulation to the
   8   Court confirming that they had engaged Bruce A. Friedman of JAMS to act as the
   9   private mediator in this action, reporting their confirmed July 28, 2022, mediation
  10   date with him, and seeking from the Court an extension of the July 15, 2022, deadline
  11   to engage in this July 28, 2022, private mediation;
  12              WHEREAS, the Court extended the Parties deadline to complete mediation to
  13   July 28, 2022. The Parties intend to go forward with the July 28 mediation and seek
  14   no further extension as to that date or deadline;
  15              WHEREAS, on April 1, 2022, Federal served written discovery (including
  16   requests for production and interrogatories) on Paramount, and Paramount served its
  17   objections and responses to Federal’s document requests on May 2, 2022
  18   (Paramount’s responses to interrogatories are currently due May 16, 2022);
  19              WHEREAS, as set forth in the accompanying Declaration of Philip Silverberg,
  20   Federal began collecting electronically stored information (“ESI”) from relevant
  21   custodians beginning in February 2022 and is continuing to review those documents,
  22   with a rolling production that began on May 2, 2022;
  23              WHEREAS, as set forth in the accompany Declaration of Pamela Woods,
  24   Paramount began collecting ESI beginning in early March 2022 and is continuing to
  25   review those documents;
  26              WHEREAS, as set forth in the Parties’ accompanying declarations, they
  27   estimate substantial completion of their production of documents by the end of June
  28   2022, which is after the June 15, 2022, fact discovery cut-off. Based on this timeline
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   1   for substantial completion of the Parties’ document productions, the Parties will be
   2   unable to complete the necessary depositions of Party deponents before the current
   3   June 15, 2022, fact discovery cut-off;
   4              WHEREAS, the Parties are preparing document and deposition subpoenas to
   5   third parties, with some served to date, and expect to complete service of those
   6   subpoenas before June 15, 2022, but do not believe third parties will substantially
   7   comply with the served and to-be-served document and deposition subpoenas before
   8   the June 15 fact discovery cut-off;
   9              WHEREAS, based on the above-estimated timeline, the Parties will not have
  10   the necessary Party and third-party document productions and depositions completed
  11   in time to allow for meaningful compliance with the current expert report and
  12   disclosure deadline of June 15, 2022, under FRCP 26(a)(2)(D)(i) (requiring
  13   disclosure “at least 90 days before the date set for trial”);
  14              WHEREAS, Federal engaged Keller/Anderle in mid-April 2022 to serve as
  15   lead trial counsel in the action and they appeared in this action on April 20, 2022;
  16              WHEREAS, the Parties request a continuance of the trial date and related
  17   pretrial deadlines to complete their document productions, obtain third-party
  18   documents pursuant to subpoenas, take the Party and third-party depositions,
  19   complete fact and expert discovery, and likely file pretrial motions for summary
  20   adjudication that could reduce the number of claims and/or defenses for the jury to
  21   consider;
  22              WHEREAS, the Parties submit the accompanying declarations of Paramount’s
  23   and Federal’s counsel substantiating the good cause and need for a trial continuance;
  24   and
  25              WHEREAS, the Parties have not previously requested an extension of the trial
  26   date in this action;
  27              NOW, THEREFORE, the Parties further stipulate and agree as follows:
  28              1.       The Parties respectfully request that the Court continue the trial date
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   1   approximately 150 days to February 14, 2023, subject to the Court’s availability;
   2              2.       The Parties respectfully request that the Court continue the Pretrial
   3   Conference, the Motion Cut-Off Date, and Discovery Cut-Off Date for fact discovery
   4   to new dates based on the continued trial date; and
   5              3.       All other pretrial deadlines, including, but not limited, to expert
   6   disclosure deadlines, will be those set forth by the Federal Rules of Civil Procedure,
   7   the Local Rules for the Central District of California, and the Court’s current orders
   8   based on the continued trial date and continued Pretrial Conference.
   9              IT IS SO STIPULATED AND AGREED.
  10   Dated: May 9, 2022                          PASICH LLP
  11
                                                   By:    /s/ Pamela Woods
  12                                                     Pamela Woods
  13                                                     Christopher T. Pasich
  14                                                     Attorneys for Plaintiff Paramount
  15                                                     Pictures Corporation
  16   Dated: May 9, 2022                          KELLER/ANDERLE LLP
  17
                                                   By:     /s/ Jennifer L. Keller
  18                                                     Jennifer L. Keller
  19                                                     Jeremy W. Stamelman

  20                                                     Attorneys for Defendant Federal
  21                                                     Insurance Company

  22   Dated: May 9, 2022                          MOUND COTTON WOLLAN &
                                                   GREENGLASS LLP
  23
  24                                               By:     /s/ Philip Silverberg
                                                         Jonathan Gross
  25                                                     Philip Silverberg, pro hac vice
  26                                                     Hilary Henkind, pro hac vice

  27                                                     Attorneys for Defendant Federal
  28                                                     Insurance Company
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   1                                          ATTESTATION
   2              Pursuant to L.R. 5-4.3.4, I hereby attest that all other signatories listed, and
   3   on whose behalf the filing is submitted, concur in the filing’s content and have
   4   authorized the filing. I further attest that I have on file documentation of this
   5   authorization.
   6   Dated: May 9, 2022                           PASICH LLP
   7
   8                                                By:    /s/ Pamela Woods
   9                                                      Pamela Woods

  10                                                      Attorneys for Plaintiff Paramount
  11                                                      Pictures Corporation

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